»                           DEPARTMENT OF CORRECTIONS                                           ©@PY
                                    DIPA TTAMEM'OS MANGNGURIHl
                                       Government of Guam




                                                               October 18,2019



    MEMORANDUM                                                                      FILED
                                                                        DISTRICT COURTOF GUAM
    To:           Director of Corrections
                                                                                           OCT 25 2073
    From:         Correction Facility Superintendent, Acting
                                                                            JEANNE G. QUINATA
    Subject:      Legal Documents                                             CLERK OF COURT
                  Ref: Inmate Dominick Lamar Felder



    Ma" am,


    Piease see the attached lesal documents addressed to you for your review and disposition.




    Sincere




       )ne F. Aguon
    Major

                                                                                                    actions i


                                                                                    OCT 18 2019

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               Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 1 of 18
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     6                                            DISTRICT COURT OF GUAM

     7                                              TERRITORY OF GUAM

         8
              DOMENICK LAMAR FELDER,                                      CrVIL CASE NO. 19-00140
         9
                                     Plaintiff,
     10
                     vs.
     11                                                                             ORDER
              SAMANTHA BRENNAN, Director,                              re Application to ProceedWithout
     12
              Department of Corrections Guam - Individual               Prepayment of Fees (ECF No. 2)
              and Official Capacity, et al.
     13
                                     Defendant.
     14

     15

     16
                    Before the court is the Plaintiffs application to proceed without prepayment of fees (the

     17
             "Application") and the Plaintiffs declaration in support ofhis Application. See ECF No. 2.
     18
                    Under the Prison Litigation Reform Act, a prisoner bringing a civil action must pay the

     19
             $400.00 filing fee in full. Ifthe prisoner plaintiff is unable to pay the full filing fee atthe time of
     20
             filing, he must submit amotion requesting to proceed without prepayment offees and acertified
     21
             copy ofhis inmate trust fund account statement (or institutional equivalent) for the six-monthperiod
     22
             immediately before the lawsuit was filed. See 28 U.S.C. § 1915(b).

     23
                    The Plaintiff has not filed the required certified copy ofhis trust account information. The

     24
             court is unable to process the Application until itreceives asigned Consent to the Release ofTrust
     25
             Account Information and to Collect Fees From Trust Account form (the "Consent Form") signed

     26
             by the Plaintiff and a Certificate of Funds Prison Trust Account form (the "Certificate of Funds
     27
             Form") completed and certified by the Guam Department ofCorrections. Blank copies of these
     28      forms are attached to this Order.




                         Case l:19-cv-00140 Document 5 Filed 10/04/19 Page 1 of 4
                       Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 2 of 18
     Dominick Lamar Felder v. Samantha Brennan, etc., et a/., CivilCaseNo. 19-00140
     Order reApplication to Proceed Without Prepayment of Fees


 i             The court hereby orders the Plaintiff to file with the court, within 30 days ofthe date ofthis
2    Order, acompleted copy ofthe Consent Fonn. The Plaintiffs failure to file the Consent Form may
3    result in the dismissal ofthis action without prejudice. The court also orders the Plaintiff to provide
 4   the completed Consent Form to the Guam Department of Corrections within 30 days ofthe date of
5    this Order. TheClerkof Court is ordered to send thePlaintifftwo copies of the ConsentFormwhen

6    the Clerk's Office serves the Plaintiff with a copy of this Order.

7              The court hereby orders the Guam Department ofCorrections to file with the court, within
 8   30 days of receipt ofthe Plaintiffs Consent Form or no later than 60 days from the date ofthis
 9   Order, whichever occurs first, all required information regarding the Plaintiffsprisoner trust account
10   for the six-month period immediately preceding September 27, 2019, the date of the filing of the
11   Plaintiffs Complaint in this court. Failure of the Department of Corrections to comply with the
12   instructions of the court will not adversely affect the Plaintiffs Complaint, but will delay its
13   resolution. The Clerk of Court is ordered to send a copy of this Order and a Certificate of Funds

14   Form to the Guam Department of Corrections.

15              Once the trust account information and the Plaintiffs Consent Form are filed with the court,

16   the court will rule on the Plaintiffs Application and determine whether the Plaintiffhas sufficient

17   funds to pay the filing fee in one payment or in multiple payments and the amount ofthe initial and
18   installment payments.

19              IT IS SO ORDERED

20                                                                                    Is! Joaquin V.E. Manibusan, Jr.
                                                                                          U.S. Magistrate Judge
21
                                                                                       a tea: ucr u*i, zu±y

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                        Case l:19-cv-00140 Document 5 Filed 10/04/19 Page 2 of 4
                    Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 3 of 18
gud 240-1 (Rev. 07/13) Consent to the Release ofTrust Account Information and to Collect Fees from Trust Account (Prisoner Civil Action)


                                                    DISTRICT COURT OF GUAM

                                                        TERRITORY OF GUAM



  DOMINICK LAMAR FELDER,                                                                   CIVIL CASE NO. 19-00140



                                 Plaintiff,                                        CONSENT TO THE RELEASE OF
                                                                                  TRUST ACCOUNT INFORMATION
                       vs.                                                         AND TO COLLECT FEES FROM
                                                                                                TRUST ACCOUNT


 SAMANTHA J. BRENNAN, et al.

                                  Defendants.




           I, DOMINICK LAMAR FELDER, # ^ ^                                                              .       , hereby consent and
authorize the appropriate prison officials:
           1. To forward directly to the above court a certified copy of my prisoner's trust account statement or
ledger sheets showing transactions for the six-month period immediately preceding the filing of my
Complaint/Petition and aCertificate of Funds for my prisoner trust account that is to be signed by an authorized
official of the institution;
           2. To withhold from my prison account and pay to the court an initial partial payment of20% ofthe
greater of:
                     (a) the average monthly deposits to my account for the six-month period immediately preceding
the filing of my Complaint/Petition; or
                     (b) the average monthly balance in my account for the six-month period immediately preceding
the filing of my Complaint/Petition;
           3. To collect from my account on a continuing basis each month, an amount equal to 20% ofthe
 preceding month's income credited to my account. Each time the amount in my account exceeds $10.00, the Trust
Officer shall forward the interim payment to the Clerk's Office, District Court ofGuam, 520 W. Soledad Avenue,
Hagatna, Guam 96910, until such time as my filing fee is paid in full.
           By executing this document, 1also authorize collection on acontinuing basis of any additional fees, costs,
and sanctions imposed by the District Court of Guam.



 DATE: IP - i V- 2.ft >q                                                         _Q=              ^Signature ofPlaintiff/Petitioner




                      Case l:19-cv-00140 Document 5 Filed 10/04/19 Page 3 of 4
                    Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 4 of 18
gud_240-2 (Rev. 07/13) Certificate ofFunds - Prison Trust Account (Prisoner Civil Action)


                                                        CERTIFICATE OF FUNDS

                                                       PRISON TRUST ACCOUNT




Prisoner's Name: DOMINICK LAMAR FELDER                                                                      Civil Case No. 19-00140


Registration #:

DATE OF FILING COMPLAINT OR PETITION: September 27, 2019

 To be completed by authorized Prison Official:



BALANCE at the time of filing of the Complaint or Petition:


AVERAGE MONTHLY DEPOSITS during the six months
prior to filing of the Complaint/Petition:


AVERAGE MONTHLY BALANCE during the six months
prior to filing of the Complaint/Petition:



        1certify that the above information accurately reflects the deposits and balances in the prisoner's trust
account for the period shown and that the attached prisoner trust account statements orjedger sheets are true
copies ofaccount records maintained in the ordinary course ofbusiness.

 DATE:
                                                                                             Signature ofAuthorized Official

                                                                                            Antone 7. Aguon, cfas
                                                                                            MAJOR
                                                                                                   Print or type name




                                                                                                      y' Title          (37

 Please return this form directly to:                  Clerk's Office, District Court of Guam
                                                       520 W. Soledad Avenue
                                                        Hagatna, Guam 96910




                          Case l-19-cv-00140 Document 5 Filed 10/04/19 Page 4 of 4
                     Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 5 of 18
gud_240-1 (Rev. 07/13) Consent to the Release ofTrust Account Information and to Collect Fees from Trust Account (Prisoner Civil Action)


                                                    DISTRICT COURT OF GUAM

                                                        TERRITORY OF GUAM



 DOMINICK LAMAR FELDER,                                                                    CIVIL CASE NO. 19-00140



                                 Plaintiff,                                        CONSENT TO THE RELEASE OF
                                                                                  TRUST ACCOUNT INFORMATION
                      vs.                                                          AND TO COLLECT FEES FROM
                                                                                                TRUST ACCOUNT


 SAMANTHA J. BRENNAN, et al

                                  Defendants.




          1, DOMINICK LAMAR FELDER, # eE^SQ                                                                   _, hereby consent and

authorize the appropriate prison officials:
           1. To forward directly to the above court a certified copy of my prisoner's trust account statement or
ledger sheets showing transactions for the six-month period immediately preceding the filing ofmy
Complaint/Petition and aCertificate of Funds for my prisoner trust account that is to be signed by an authorized
official of the institution;
           2. To withhold from my prison account and pay to the court an initial partial payment of20% ofthe
greater of:
                     (a) the average monthly deposits to my account for the six-month period immediately preceding
the filing of my Complaint/Petition; or
                     (b) the average monthly balance in my account for the six-month period immediately preceding
the filing of my Complaint/Petition;
           3. To collect from my account on a continuing basis each month, an amount equal to 20% ofthe
 preceding month's income credited to my account. Each time the amount in my account exceeds $10.00, the Trust
Officer shall forward the interim payment to the Clerk's Office. District Court ofGuam, 520 W. Soledad Avenue,
Ilagatna, Guam 96910, until such time as my filing fee is paid in full.
           By executing this document, 1also authorize collection on acontinuing basis of any additional fees, costs,
and sanctions imposed by the District Court of Guam.



 DATE:         fO-      H     - .OcVA                                              m               Signatureof Plaintiff/Petitioner




                    Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 6 of 18
gud_240-2 (Rev. 07/13) Certificate of Funds - Prison Trust Account (Prisoner Civil Action)



                                                        CERTIFICATE OF FUNDS

                                                       PRISON TRUST ACCOUNT




Prisoner's Name: DOMINICK LAMAR FELDER                                                                            Civil Case No. 19-00140


Registration #: £q, a&

DATE OF FILING COMPLAINT OR PETITION: September 27, 2019

To be completed by authorized Prison Official:



                                                                                                            O       -
BALANCE at the time of filing of the Complaint or Petition:


AVERAGE MONTHLY DEPOSITS during the six months
prior to filing of the Complaint/Petition:


AVERAGE MONTHLY BALANCE during the six months
                                                                                                      —    a>      -—
priorto filing of the Complaint/Petition:



           I certify that the above information accurately reflects the deposits and balances in the prisoner's trust
account for the period shown and that the attached prisoner trust account statements orje^ger^heets are true
copies ofaccount records maintained in the ordinary course ofbusiness.

DATE:
                 /O- 2Z« /e\
                                                                                                Signature of Authorized Official

                                                                                             Antone 7. Aguon, CFAS
                                                                                       __MAJOR_-
                                                                                                      Print or type name




                                                                                                  '             Title      A


Please return this form directly to:                   Clerk's Office, District Court of Guam
                                                        520 W. Soledad Avenue
                                                        Hagatna, Guam 96910




                     Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 7 of 18
mid 240-1 (Rev. 07/13) Consent to the Release ofTrust Account Information and to Collect Fees from Trust Account (Prisoner Civil Action)


                                                    DISTRICT COURT OF GUAM

                                                        TERRITORY OF GUAM



 DOMINICK LAMAR FELDER,                                                                    CIVIL CASE NO. 19-00140



                                 Plaintiff,                                        CONSENT TO THE RELEASE OF
                                                                                  TRUST ACCOUNT INFORMATION
                      vs.                                                          AND TO COLLECT FEES FROM
                                                                                                TRUST ACCOUNT


  SAMANTHA J. BRENNAR et al.

                                  Defendants.




           1. DOMINICK LAMAR FELDER. # 3<A:n                                                                    . hereby consent and
authorize the appropriate prison officials:
           LTo forward directly to the above court a certified copy ofmy prisoner's trust account statement or
ledger sheets showing transactions for the six-month period immediately preceding the filing ofmy
Complaint/Petition and aCertificate of Funds for my prisoner trust account that is to be signed by an authorized
official of the institution;
           2. To withhold from my prison account and pay to the court an initial partial payment of20% ofthe
greater of:
                      (a) the average monthly deposits to my account for the six-month period immediately preceding
the filing of my Complaint/Petition; or
                      (b) the average monthly balance in my account for the six-month period immediately preceding
the filing of my Complaint/Petition;
           3. To collect from my account on acontinuing basis each month, an amount equal to 20% ofthe
 preceding month's income credited to my account. Each time the amount in my account exceeds $10.00, the Trust
 Officer shall forward the interim payment to the Clerk's Office, District Court ofGuam. 520 W. Soledad Avenue,
 Magatna. Guam 96910, until such time as my filing fee is paid in full.
           By executing this document. Ialso authorize collection on acontinuing basis of any additional fees, costs,
 and sanctions imposed by the District Court of Guam.



 DATE: \C>< H                 > ^0^                                               _Q               kSignature of Plaintiff/Petitioner




                    Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 8 of 18
>




    gud_240-2 (Rev. 07/13) Certificate ofFunds - Prison Trust Account (Prisoner Civil Action)


                                                            CERTIFICATE OF FUNDS

                                                           PRISON TRUST ACCOUNT




    Prisoner's Name: DOMINICK LAMAR FELDER                                                                           Civil Case No. 19-00140


    Registrations: jqaX

    DATE OF FILING COMPLAINT OR PETITION: September 27, 2019

    To be completed by authorized Prison Official:




    BALA.NCE at the time of filing of the Complaint or Petition:                                             -       O       -




    AVERAGE MONTHLY DEPOSITS during the six months
    prior to filing of the Complaint/Petition:                                                                   o




    AVERAGE MONTHLY BALANCE during the six months
    prior to filing of the Complaint/Petition:                                                                   O       —




            I certify that the above information accurately reflects the deposits and balances inthe prisoner's trust
    account for the period shown and that the attached prisoner trust account statements^ ledger sheets are true
    copies ofaccount records maintained in the ordinary course ofbusiness.

    DATE    I: (Ozl^A                                                                              Signature ofAuthorized Official

                                                                                                An tone 7. Aguon, cfas
                                                                                                iflAJCR.
                                                                                                         Print or type name




                                                                                                                 TitleJ

     Please return this form directly to:                  Clerk's Office, District Court of Guam
                                                           520 W. Soledad Avenue
                                                           Hagatna, Guam 96910




                        Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 9 of 18
                                   GOVERNMENT OF GUAM
                         DEPARTMENT OF CORRECTIONS
                             DIPATTAMENTON MANGNGURIHI
                                MANGILAO, GUAM 96913



                                         October 22, 2019

MEMORANDUM


To:            Samantha J. Brennan, Director

Via:           Joseph S. Carbullido, Acting Deputy Director

From:          Antone F. Aguon, Major

Subject:       Certificate of Funds
               Inmate Dominick Felder #2922


Reference:     Prison Litigation Reform Act (PLRA)

         The Prison Litigation Reform Act (PLRA), 42 U.S.C. § 1997e, is a U.S. federal law that
was enacted in 1996. Congress enacted PLRA in response to a significant increase in prisoner
litigation in the federal courts; the PLRA was designed to decrease the incidence of litigation
within the court system.

The PLRA requires inmates to pay court filing fees in full, however, if the inmate lack resources
to pay the fees, they can request that the court waive some or all of the fees associated with their
lawsuit by submitting to the court a consent form and a certificate of funds form that is
completed by prison officials attesting that the inmate does not have any funds in a prisoner trust
account, (see attached documents).

Since no prisoner in DOC has a trust account, the Warden would sign the documents certifying
that the inmate does not have any funds in a prisoner trust account. As the Acting Warden, I do
not have any issues with signing the document if need be but I will leave that decision up to you.


Submitted for your information and disposition




                                            )NE F. AGUON
                                             MAJOR




           Case 1:19-cv-00140 Document
                            EQUAL      14 Filed 10/25/19
                                  OPPORTUNITY   EMPLOYER Page 10 of 18
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6                                         DISTRICT COURT OF GUAM

 n
 i
                                            TERRITORY OF GUAM

8
     DOMINICK LAMAR FELDER,                                        CIVIL CASE NO. 19-00140
9
                             Plaintiff,
10

             vs.
                                                                              ORDER
      SAMANTHA BRENNAN, Director.                               re Application to Proceed Without
      Department of Corrections Guam - Individual                Prepayment of Fees (ECF No. 2)
      and Official Capacity, et al.
                              Defendant.


15

16
            Before the court is the Plaintiffs application to proceed without prepayment of fees (the

17
     "Application") and the Plaintiffs declaration in support of his Application. SeeECF No. 2.

18
            Under the Prison Litigation Reform Act, a prisoner bringing a civil action must pay the

19
     S400.00 filing fee in full. If the prisoner plaintiff is unable to pay the full filing fee at the time of

20
     filing, he must submit a motion requesting to proceed without prepayment of fees and a certified

21
     copy ofhis inmate trust fund account statement (or institutional equivalent) for the six-month period

22   immediately before the lawsuit was filed. See 28 U.S.C. § 1915(b).

23
            The Plaintiff has not filed the required certified copy of his trust account information. The

24
     court is unable to process the Application until it receives a signed Consent to the Release ofTrust

25
     Account Information and to Collect Fees From Trust Account form (the "Consent Form") signed

26
     by the Plaintiff and a Certificate of Funds Prison Trust Account form (the "Certificate of Funds

27   Form") completed and certified by the Guam Department of Corrections. Blank copies of these

28   forms are attached to this Order.




                   Case l:19-cv-00140 Document 5 Filed 10/04/19 Page 1 of 4
               Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 11 of 18
      Dominick Lamar Felder v. Samantha Brennan. etc.. et ai. Civil Case No. 19-00140
      Order re Application to Proceed Without Prepayment of Fees


                The court hereby orders the Plaintiff to file with the court, within 30 days of the date of this
      Order, a completed copy of the Consent Form. The Plaintiffs failure to file the Consent Form may
      result in thedismissal of this actionwithout prejudice. The courtalso orders the Plaintiffto provide

4     the completed Consent Form to the Guam Department ofCorrections within 30 days ofthe date of
5     this Order. The Clerk of Court is ordered to send the Plaintiff two copies of the Consent Form when

6     the Clerk's Office serves the Plaintiff with a copy of this Order.

 7               The court hereby orders the Guam Department of Corrections to file with the court, within

 8    30 days of receipt of the Plaintiffs Consent Fonn or no later than 60 days from the date of this
9     Order, whichever occurs first, all required information regarding thePlaintiffs prisoner trustaccount

10    for the six-month period immediately preceding September 27, 2019, the date of the filing of the
11    Plaintiffs Complaint in this court. Failure of the Department of Corrections to comply with the
12     instructions of the court will not adversely affect the Plaintiffs Complaint, but will delay its

13     resolution. The Clerk of Court is ordered to send a copy of this Order and a Certificate of Funds

14     Form to the Guam Department of Corrections.

15               Once the trust account information and the Plaintiffs Consent Form are filed with the court,

16 I the court will rule on the Plaintiffs Application and determine whether the Plaintiff has sufficient
17     funds to pay the filing fee in one payment or in multiple payments and the amount ofthe initial and
18     installment payments.

19                IT IS SO ORDERED.

20                                                                                      /s/ Joaquin V.E. Manibusan, Jr.
                                                                                          U.S. Magistrate Judge
21
                                                                                        Dated: Oct 04, 2019
22


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                           Case l:19-cv-00140                 Document 5 Filed 10/04/19            Page 2 of 4
                     Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 12 of 18
eud_240-l (Rev. 07/13) Consent to the Release ofTrust Account Information and to Collect Fees from Trust Account (Prisoner Civil Action)


                                                    DISTRICT COURT OF GUAM

                                                        TERRITORY OF GUAM



  DOMINICK LAMAR FELDER,                                                                   CIVIL CASE NO. 19-00140



                                  Plaintiff,                                        CONSENT TO THE RELEASE OF
                                                                                   TRUST ACCOUNT INFORMATION
                       vs.                                                          AND TO COLLECT FEES FROM
                                                                                                TRUST ACCOUNT


  SAMANTHA J. BRENNAN, et al.

                                  Defendants.




           1. DOMINICK LAMAR FELDER. ?? ^q^                                                                     , hereby consent and
 authorize the appropriate prison officials:
            1. To forward directly to the above court a certified copy of my prisoner's trust account statement or
 ledger sheets showing transactions for the six-month period immediately preceding the filing of my
 Complaint/Petition and a Certificate ofFunds for my prisoner trust account that is to be signed by an authorized
 official of the institution;
            2. To withhold from my prison account and pay to the court an initial partial payment of 20% of the
 greater of:
                      (a) the average monthly deposits to my account for the six-month period immediately preceding
 the filing of my Complaint/Petition; or
                      (b) the average monthly balance in my account for the six-month period immediately preceding
 the filing of my Complaint/Petition;
            3. To collect from my account on a continuing basis each month, an amount equal to 20% of the
 preceding month's income credited to my account. Each time the amount in my account exceeds $10.00, the Trust
 Officer shall forward the interim payment to the Clerk's Office, District Court of Guam, 520 W. Soledad Avenue,
  Hagatna. Guam 96910, until such time as my filing fee is paid in full.
            By executing this document, I also authorize collection on a continuing basis of any additional fees, costs,
 and sanctions imposed by the District Court of Guam.



  DATE: tO - H - 2ft \C\                                                             04.            Signature ofPlaintiff/Petitioner




                          Case l:19-cv-00140 Document 5                             Filed 10/04/19 Page 3 of 4
                    Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 13 of 18
gud_240-2 (Rev. 07/13) Certificate ofFunds - Prison Trust Account (Prisoner Civil Action)


                                                        CERTIFICATE OF FUNDS

                                                       PRISON TRUST ACCOUNT




Prisoner's Name: DOMINICK LAMAR FELDER                                                                    Civil Case No. 19-00140

Registration #:

DATE OF FILING COMPLAINT OR PETITION: September 27, 2019

 To be completed by authorized Prison Official:




BALANCE at the time of filing of the Complaint or Petition:


AVERAGE MONTHLY DEPOSITS during the six months
 priorto filing of the Complaint/Petition:


 AVERAGE MONTHLY BALANCE during the six months
 prior to filing of the Complaint/Petition:



         Icertify that the above information accurately reflects the deposits and balances in the prisoner's trust
 account for the period shown and that the attached prisoner trust account statements or ledger sheets are true
 copies ofaccount records maintained in the ordinary course of business.

 DATE:
                                                                                            Signature ofAuthorized Official



                                                                                                  Print or type name




                                                                                                         Title




  Please return this fonn directly to:                  Clerk's Office, District Courtof Guam
                                                        520 W. Soledad Avenue
                                                        Hagatna, Guam 96910




                           Case l:19-cv-00140 Document 5 Filed 10/04/19 Page 4 of 4
                     Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 14 of 18
gud_240-1 (Rev. 07/13) Consent tothe Release ofTrust Account Information and toCollect Fees from Trust Account (Prisoner Civil Action)



                                                   DISTRICT COURT OF GUAM

                                                       TERRITORY OF GUAM



  DOMINICK LAMAR FELDER,                                                                 CIVIL CASE NO. 19-00140



                                 Plaintiff,                                       CONSENT TO THE RELEASE OF
                                                                                 TRUST ACCOUNT INFORMATION
                      vs.                                                          AND TO COLLECT FEES FROM
                                                                                        TRUST ACCOUNT


  SAMANTHA J. BRENNAN, et al.

                                 Defendants.




           LDOMINICK LAMAR FELDER, # QSSQ                                                                     . hereby consent and

authorize live appropriate prison officials:
           1. To forward directly to the above court a certified copy of my prisoner's trust account statement or
ledger sheets showing transactions for the six-month period immediately preceding the filing of my
Complain:.Petition and a Certificate of Funds for my prisoner trust account that is to be signed by an authorized
official of the institution;

           2. To withhold from my prison account and pay to the court an initial partial payment of 20% of the
 greater of:
                     (a) the average monthly deposits to my account for the six-month period immediately preceding
the filing of my Complaint/Petition; or
                     (b) the average monthly balance in my account for the six-month period immediately preceding
the filing of my Complaint/Petition;
          3. To collect from my account on a continuing basis each month, an amount equal to 20% of the
preceding month's income credited to my account. Each time the amount in my account exceeds $10.00, the Trust
Officer shall forward the interim payment to the Clerk's Office, District Court of Guam, 520 W. Soledad Avenue,
Hagatna. Guam 96910, until such time as my filing fee is paid in full.
           By executing this document, I also authorize collection on a continuing basis of any additional fees, costs,
and sanctions imposed by the District Court of Guam.



 DATE:         iO» 1"1 ' SCA^y                                                   m               Signature ofPlaintiff/Petitioner




                    Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 15 of 18
aud_240-2 (Rev. 07/13) Certificate ofFunds - Prison Trust Account (Prisoner Civil Action)


                                                        CERTIFICATE OF FUNDS

                                                       PRISON TRUST ACCOUNT




Prisoner's Name: DOMINICK LAMAR FELDER                                                                        Civil Case No. 19-00140


Registration #: £q, Sl&

DATE OF FILING COMPLAINT OR PETITION: September 27, 2019

 To be completed by authorized Prison Official:




BALANCE at the time of filing of the Complaint or Petition:                                               O    -




AVERAGE MONTHLY DEPOSITS during the six months
prior to filing of the Complaint/Petition:                                                            o




 AVERAGE MONTHLY BALANCE during the six months
 prior to filing of the Complaint/Petition:




            I certify that the above information accurately reflects the deposits and balances in the prisoner's trust
 account for the period shown and that the attached prisoner trust account statements or ledger sheets are true
 copies of account records maintained in the ordinary- course of business.

 DATE:
                                                                                            SignatureofAuthorizedOfficial




                                                                                                 Print or type name




                                                                                                          Title




 Please return this form directly to:                  Clerk's Office, District Court of Guam
                                                       520 W. Soledad Avenue
                                                       Hagatna, Guam 96910




                     Case 1:19-cv-00140 Document 14 Filed 10/25/19 Page 16 of 18
gud_240-l
            (Rev. 07/13) Consent to the Release ofTrust Account Information and to Collect Fees from Trust Account (Prisoner Civil Action)

                                                     DISTRICT COURT OF GUAM

                                                          TERRITORY OF GUAM


  DOMINICK LAMAR FELDER,                                                                     CIVIL CASE NO. 19-00140



                                   Plaintiff,                                         CONSENT TO THE RELEASE OF
                                                                                     TRUST ACCOUNT INFORMATION
                         vs.                                                          AND TO COLLECT FEES FROM
                                                                                                   TRUST ACCOUNT


  SAMANTHA J. BRENNAN. et al.

                                    Defendants.




             1. DOMINICK LAMAR FELDER. # Q<\ 2^                                                                  _, hereby consent and
 authorize the appropriate prison officials:
             1. To forward directly to the above court a certified copy of my prisoner's trust account statement or
 [eager sheets showing transactions for the six-month period immediateh preceding the filing of my
 Complaint-Petition and a Certificate of Funds for my prisoner trust account that is to be signed by an authorized
 official of the institution;

             2. To withhold from my prison account and pay to the court an initial partial payment of 20% of the
 greater of:
                        (a) the average monthly deposits to my account for the six-month period immediately preceding
 the filing of my Complaint/Petition; or
                        (b) the average monthly balance in my account for the six-month period immediately preceding
 the filing of my Complaint/Petition:
             3. To collect from my account on a continuing basis each month, an amount equal to 20% of the
 preceding month's income credited to my account. Each time the amount in my account exceeds $10.00, the Trust
 Officer shall forward the interim payment to the Clerk's Office, District Court of Guam, 520 W. Soledad Avenue,
 Hagatna. Guam 96910, until such time as my filing fee is paid in full.
             By executing this document, I also authorize collection on a continuing basis of any additional fees, costs,
 and sanctions imposed by the District Court of Guam.




  DATE: jQ» H                   j 2Cj'\c\                                          04                Signature ofPlaintiff/Petitioner




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gud_240-2(Rev. 07/13} Certificate of Funds- PrisonTrust Account (Prisoner Civil Action)



                                                      CERTIFICATE OF FUNDS

                                                      PRISON TRUST ACCOUNT




Prisoner's Name: DOMINICK LAMAR FELDER                                                                             Civil Case No. 19-00140


Registration #: ^qaX

DATE OF FILING COMPLAINT OR PETITION: September 27, 201!

 To be completed bv authorized Prison Official:




BALANCE at the time of filing of the Complaint or Petition:                                                -   O




AVERAGE MONTHLY DEPOSITS during the six months
prior to filing of the Complaint/Petition:                                                                 -   o




AVERAGE MONTHLY BALANCE during the six months
prior to filing of the Complaint/Petition:                                                S            -       O




         1certify that the above information accurately reflects the deposits and balances in the prisoner's trust
 account for the period shown and that the attached prisoner trust account statements or ledger sheets are true
 copies ofaccount records maintained in the ordinary course ofbusiness.

 DATE:
                                                                                              Signature of Authorized Official



                                                                                                    Print or type name




                                                                                                               Title




 Please return this form directly to:                  Clerk's Office, District Court of Guam
                                                       520 W. Soledad Avenue
                                                       Hagatna, Guam 96910




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